Progress Notes                                                                                            Printed On Mar 21, 2019
           REVIEW OF SYSTEMS:
           EARS, NOSE, MOUTH & THROAT: No difficulty with chewing or swallowing.
           CARDIAC: Denies angina, palpitations, orthopnea.
           RESPIRATORY: Denies hemoptysis.
           GASTROINTESTINAL: Denies GERD, change in bowel habits or abdominal pain.

           Weight stable over past year.

           PHYSICAL EXAMINATION --
           Temp:        97.6 F [36.4 C] (10/15/2018 13:53)
           Resp:        24 (10/15/2018 13:53)
           BP:          131/83 (10/15/2018 13:53)
           Pulse:       84 (10/15/2018 13:53)
           HT:          65 in [165.1 cm] (12/02/2011 06:32)
           WT:          163.46 lb [74.3 kg] (10/15/2018 13:53)
           BMI:         27.3
           Pain (1-10): 6 (07/12/2018 10:57)

           PHYSICAL EXAMINATION:
           In no acute distress.
           HEENT: Oropharynx clear. Patent external auditory canals.
           Neck: No cervical lymphadenopathy.
           Chest: slightly coarse with faint expiratory wheezing. Breathing nonlabored.
           Heart: RRR with no murmurs, clicks, or extra sounds.
           Abdomen:BS active. No hepatosplenomegaly. Nontender.
           Extremities: No edema. Gait steady without assist.
           Psych: Alert, Oriented, & Appropriate.

           ASSESSMENT AND PLAN/LIST DX:
           1/ Progressive shortness of breath and cough over past 1 month. After review of
           chart, he was seen in ER in Nov 2017 for abdominal pain. CXR was done showing
           "No consolidation and a 4.9 cm oval density in the left upper lung, not present
           in 2011. CT chest for further evaluation. Primary Diagnostic Code: NO ALERT
           REQUIRED. Secondary Diagnostic Codes: POSSIBLE MALIGNANCY". Unfortunetly, no
           additional imaging was performed at the time. He will be scheduled for chest CT
           ASAP. I will also be giving him antibiotics and albuterol inhaler.

           RETURN TO CLINIC & LABS/ORDERS:


           A current list of medications was reviewed with patient, and family if
           available. Patient was given a copy of the Medication Review
           handout. Any discrepancies (omissions, duplications, adjustments,
           deletions, additions) were reconciled, updated and documented in CPRS.
           Patient was provided an updated reconciled medication list and educated on
           medication(s). Patient was reminded to discard old lists and to
           update any records with all medication providers or retail pharmacies.

           Lab(s) and/or diagnostic tests WERE obtained at this visit.

PATIENT NAME AND ADDRESS (Mechanical Imprinting, if available)   VISTA Electronic Medical Documentation
MEYER,JAMES ROBERT                                               Printed at IOWA CITY HCS
21355 GRAPE RD
ELKADER, IOWA 52043
DOB:08/22/1947
                                                                                                                Exhibit A
                                             Exhibit A 001
                     Case 2:21-cv-01003-MAR Document   1-2 Filed 01/22/21 Page 1 of 8                                   Page 315
                        Exhibit A 002
Case 2:21-cv-01003-MAR Document   1-2 Filed 01/22/21 Page 2 of 8
                        Exhibit A 003
Case 2:21-cv-01003-MAR Document   1-2 Filed 01/22/21 Page 3 of 8
                        Exhibit A 004
Case 2:21-cv-01003-MAR Document   1-2 Filed 01/22/21 Page 4 of 8
                        Exhibit A 005
Case 2:21-cv-01003-MAR Document   1-2 Filed 01/22/21 Page 5 of 8
                        Exhibit A 006
Case 2:21-cv-01003-MAR Document   1-2 Filed 01/22/21 Page 6 of 8
                        Exhibit A 007
Case 2:21-cv-01003-MAR Document   1-2 Filed 01/22/21 Page 7 of 8
                        Exhibit A 008
Case 2:21-cv-01003-MAR Document   1-2 Filed 01/22/21 Page 8 of 8
